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CSD 1101 [12/01/23]
Name, Address, Telephone No. & I.D. No.
Martin A. Eliopulos (SBN 149299)
Higgs Fletcher & Mack LLP
401 West A Street, Suite 2600
San Diego, CA 92101
619.236.1551
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elio@higgslaw.com

            UNITED STATES BANKRUPTCY COURT
                 SOUTHERN DISTRICT OF CALIFORNIA
             325 West F Street, San Diego, California 92101 -6991


 In Re
 Pacifica Senior Living LLC dba Pacifica Senior Living
 Management LLC
                                                                                        BANKRUPTCY NO. 25-01107-CL7



                                                                    Debtor(s)



                              NOTICE TO CREDITORS OF THE ABOVED-NAMED DEBTOR
                               ADDED BY AMENDMENT OR BALANCE OF SCHEDULES

         You are hereby notified that the debtor is filing in this case a schedule or an amendment to the debtor's list of debts to
include you as a creditor of this estate. If you have questions concerning the legal effect of this filing upon you as a creditor, please
consult your own legal counsel. Neither the Court nor I may advise you on legal matters.

        You are further notified that on  March 24, 2025      , the debtor filed a petition for relief under Chapter 7, of the
United States Bankruptcy Code. [If applicable: The case was subsequently converted to a case under Chapter               of the
Code on:                          .]

        As a result of the filing of the petition, you are notified that certain acts and proceedings against the debtor and
his estate are stated as provided in 11 U.S.C. § 362(a).

         Copies of notices indicated below are pertinent to this case and are enclosed with this notice.

                 Order for and Notice of Section 341(a) Meeting and/or Notice of Hearing on Objection to Confirmation of Chapter 13 Plan

                          El Meeting and/or Hearing pending

                          ❑ Meeting and/or Hearing concluded

                          ❑ Meeting and/or Hearing continued to                               , at      .m.

            ❑   Discharge of the Debtor

            ❑    Order Fixing Last Date for Filing Claims and Proof of Claim (Form 410)

            ❑    Order Confirming Plan

            ❑    Other (specify)




Dated: April 24, 2025                                          Signed:     /s/ Martin A. Eliopulos
                                                                                          ❑ Debtor El Attorney for Debtor
                                                                           Martin A. Eliopulos, Esq.
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                                                            INSTRUCTIONS


1.         Determine which of the notices or orders listed on the reverse side have been mailed to creditors prior to preparation
           of the amendment or balance of schedules being filed with this notice. Copies of those notices must be mailed to the
           added creditors and copies attached to this notice. Failure to do so may cause the amendment, schedules
           and/or notice to be returned for correction.
2.         Compliance with LBR 1007-4 and 1009 are required.

                                                         PROOF OF SERVICE

           I, whose address appears below, certify:

           That I am, and at all relevant times was, more than 18 years of age;

        I served a true copy of this Notice to Creditors of the Above-Named Debtor Added by Amendment on the
following persons listed below by mode of service shown below:

1.         To Be Served by the Court via Notice of Electronic Filing ("NEF"):

         Under controlling Local Bankruptcy Rules(s) ("LBR"), the document(s) listed above will be served by the
court via NEF and hyperlink to the document. On April 24, 2025                , I checked the CM/ECF docket for
this bankruptcy case or adversary proceeding and determined that the following person(s) are on the Electronic Mail
Notice List to receive NEF transmission at the e-mail address(es) indicated and/or as checked below:

        Martin A. Eliopulos    elio@higgslaw.com; begaym@higgslaw.com
•       Lawrence J Hilton     Ihilton@onellp.com; Ithomas@onellp.com; info@onellp.com; vsoriano@onellp.com;
nlichtenberger@onellp.com
•       Kevin Ronk       Kevin@portilloronk.com; Karen@cym.law; Attorneys@portilloronk.com
•       Daren M Schlecter      daren@schlecterlaw.com
                 Chapter 7 Trustee:
                 Ronald E. Stadtmueller           ecfstadt@aol.com; ecfstadt2@aol.com; res@trustesolutions.net

     1Z1         For Chapter 7, 11, & 12 cases:                 ❑     For EVEN numbered Chapter 13 cases:
                 UNITED STATES TRUSTEE                                MICHAEL KOCH, TRUSTEE
                 ustp.region15@usdoj.gov                              mkoch@ch13.sdcoxmail.com




 2.        Served by United States Mail:

        On        April 24, 2025          , I served the following person(s) and/or entity(ies) at the last known
 address(es) in this bankruptcy case or adversary proceeding by placing accurate copies in a sealed envelope in the
 United States Mail via 1) first class, postage prepaid or 2) certified mail with receipt number, addressed as follows:

 See Attached Service List
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3.     Served by Personal Delivery, Facsimile Transmission, Overnight Delivery, or Electronic Mail:

       Under Fed.R.Civ.P.5 and controlling LBR, on                                , I served the following person(s)
and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method) by facsimile
transmission, by overnight delivery, and/or electronic mail as follows:




       I declare under penalty of perjury under the laws of the United States of America that the statements made in this
       proof of service are true and correct.


        Executed on   April 24, 2025                     MARIE BEGAY         /s/ Marie Begay
                                 (Date)                   (Typed Name and Signature)


                                                        401 West A Street, Suite 2600
                                                         (Address)

                                                        San Diego, CA 92101
                                                          (City, State, ZIP Code)
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AA Management Advisors LLC               Angela Covington                  Bettie Mosley
10752 Deerwood Park BLVD S               Nelson & Nelson                   Chora Young & Manasserian LLP
Jacksonville, FL 32256                   811 SW Naito Parkway, Ste 200     650 Sierra Madre Villa AVE 304
                                         Portland, OR 97204                Pasadena, CA 91107
AA Management Advisors, LLC
10752 Deerwcod Park BLVD S 126           Anne Ligon-Kemper                 Betty Marsman
Jacksonville, FL 32256                   3 Featherbush CT                  Richard D. Schuler, Esq.
                                         Santa Fe, NM 87508                1615 Forum Place STE 4D
                                                                           West Palm Beach, FL 33401
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Michael A. Mandevile, Esq.               Anne M. Kemper
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Maitland, FL 32751                       Santa Fe, NM 87508                do Valentine Law Group, APC
                                                                           26021 Acero
                                                                           Mission Viejo, CA92691
AHC ofHenderson                          Anne icon Kemper
1285 E Cactus Ave                        3 Feathabrush CT
I as Vegas, NV 89183                     Santa Fe, NM 87508                do Brodkin &Associats
                                                                           15500 B Rockfield BLVD
                                                                           Irvine, CA 92618
Ada Ruth Carlson                         Antonio Giuliano
Stipp Law Firm                           Mendes, Reins 8,VVilanderPLC
2333 State ST, STE 101                   PO Box 15637                      Calaroga Terrace
Carlsbad, CA 92008                       Saint Petersburg, FL 33733        1400 NE 2nd AVE
                                                                           Portland, OR 97232
Albert Ferrer                            Apple Valley Payroll
do Fuller Law Group, P.C.                2334 Washington AVE, STE A        Callfomb Premier Restoration
9565 Waplas ST, STE 20()                 Redding, CA 96001                 22 Lower Ragsdale DR STE F
San Diego, CA 92130                                                        Monterey, CA 93940
                                         Barbara Akin, deceased
Allan Clark                              do Valentine Law Group, APC       Camille Mosley-Moran
do Hamparyan Personal Injury             26021 Acero Mission               Chora Young & Manasserian LLP
275 West Market ST                       Mission Viejo, CA92691            650 Sierra Madre Villa AVE 304
San Diego, CA92101                                                         Pasadena, CA91107
                                         Barbara Ann Bceff
Amazon Logistics Inc.                    Wilkes &Associates                Carelinx, Inc.
110 N. Orange AVE STE 1200               3550 Buschwoccl Park Dr Ste 230   do Delmore Green
do Wilson Elser                          Tampa, FL 33618                   600 West Broadway, STE 400
Orlando, FL 32801                                                          San Diego, CA92101
                                         Barbara J. Bog*
AMRIT TANDON                             26517 Winchester RD               Carolyn Kemp
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356 Redondo AVE                                                            411 SW 2nd AVE, STE 200
Long Beach, CA90814                                                        Portland, OR 97204
                                         Basich Law Group
                                         1955 W. Glenoaks Blvd.
Andrew Louie/Kristine Lo Breeden &       Glendale, CA91201
Associates PLLC
376 Warm Springs RD, STE 120
I as Vegas, NV89119
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                                                                              Fair Oaks, CA95628
Cristina Miller                          DOE Efleda
1974 Beckett CT                                                               Elizabeth Zeh
San Jadnto, CA 92583                                                          do Dawn Nanfito
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                                                                              Tacoma, WA 98407
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Gordon & Partners, PA
4114 Northlake BLVD                                                           Eric Ferrer
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                                         Doman, Giuliano
                                                                              San Diego, CA92130
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Hemet CA 92543                           Saint Petersburg, FL 33733           Eric Heron Est of Marda Katz
                                                                              The Grife Law Firm, PA
                                                                              6111 Broken Sound PKWY NW 300
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                                                                              Boca Raton, FL 33487
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                                                                              The Glife Law Firm, PA
Deanna Bacigley
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                                                                              Bacon Raton, FL 33487
Moreno Valley, CA 92554                  do Pacifica SL Fort Myers
                                         9461 Healthpark CIR
                                         Fort Myers, FL 33908                 Erika Hampe
Deepak Israni
                                                                              c/o JML Law
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                                                                              5855 Topanga Cnyn BLVD, STE 300
San Diego, CA92110                       Eduardo Ferrer
                                                                              Woodland Hills, CA91367
                                         do Fuller Law Group, P.C.
                                         9565 Waplas ST, STE 200
Deepak Israni
                                         San Diego, CA92130                   Estate of Jerry Frands Ryan
1775 Hancock Stet, STE 200
                                                                              Dubin Law Office
San Diego, CA92110
                                                                              PO Box 30947
                                         Elaine Dale Howard
                                                                              Seattle, WA 98113
                                         2675 N Wyatt DR
Dennis Murphy Estate Linda P.
                                         Tucson, AZ 85712
Michael P. Jasso, Esq.
                                                                              Estate of Sarah Bozeman
300 Menaul Blvd. NW, Suite A
                                                                              do Brian C. Guppenberger, Esq
Albuquerque, NM 87107-9951               Electra Price
                                                                              2300 Maitland Center PKWY 122
                                         Tenant Law Group, PC
                                                                              Maitland, FL 32751
                                         100 Pine Street, Suite 1250
                                         San Francisco, CA94111
                                                                              Etairos Health, Inc.
                                                                              2708 US-19 ALT STE 501
                                                                              Palm Harbor, FL 34683
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Evelyn E. Escanuebs                       Extended Care Portfolio Tenant   Hollywood Hills Senior LMng
Aegis Law Firm                            1775 Hancock ST, STE 200         1745 N. Gramercy PL
9811 Irvine Center DR STE 100             San Diego, CA92110               Los Angeles, CA 90028
Irvine, CA92618
                                          Extended Care Portfolb Tenant    Home Helpers ofDanville
Evelyn Smith                              300 W Clarendon AVE 230          2415 San Ramon Valley BLVD 4101
Ford Dean & Rotundo P.A.                  Phoenix, AZ 8,5013               San Ramon, CA94583
3323 N.E. 163 ST, STE 60
North Miami Beach, FL 33160
                                          Filomena Cayaban Weaver          Ivan Spansel
                                          Law Offof Felicia C. Curran      Rude, O'Boyle, Lombardo & McK
Ext Care Portfolio Ha LLC                 1418 Lakeside DR                 245 West Laurel DR
1775 Hanocck ST, STE 200                  Oakland, CA94612                 Salinas, CA 93906
San Diego, CA92110
                                          Fiore Achermann LLP              Ivan Spansel Estate Eric S.
Ext Care Portfolio Fla Tenant             340 Pine ST, STE 503             Rucks, O'Boyle, Lombardo & McK
1775 Hancock ST, STE 200                  San Francisco, CA94104           245 West Laurel DR
San Diego, CA92110                                                         Salinas, CA 93906
                                          Gabrielle Earnest
Ext Care Portfolio Fbricla LLC            Aegis Law Firm                   Jacqueline Doyle
1775 Hancock ST, STE 200                  9811 Irvine Center DR STE 100    do Richard A Englemann, Esq
San Diego, CA92110                        Irvine, CA 92618                 3017 WCharlestai Bd Ste 101
                                                                           I as Vegas, NV 89102
Ext Care Portfolio Tenant LLC             George W. Turner
1775 Hancock ST, STE 200                  Miller Kory Rowe LLP             James Bates
San Diego, CA92110                        650 North Third AVE              Mendes, Reins &Wander
                                          Phoenk, AZ 85003                 4401 W. Kennedy Blvd. Ste 250
                                                                           Tampa, FL 33609
ExtIC Portfolb FL Tenant LLC
1775 Hancock ST, STE 200                  Gloria Ferrer
San Diego, CA92110                        Fuller Law Group, P.C.           Janie Smith
                                          9565 Waplas ST, STE 200          Mallard & Sharp, P.A.
                                          San Diego, CA92130               7685 S.W. 104th ST STE 200
Extended Care Portfolb Fbdda
                                                                           Miami, FL 33156
Tenant
1775 Hancock ST, STE 200                  Gordon Rees Scully Mansukhoni
San Diego, CA92110                        101 W Broadway UNIT 2000         Jannie Williams, sa Elwood W
                                          San Diego, CA92101               McCrary Law Firm, PC
                                                                           5701 Lonetise BLVD, STE 115
Extended Care Portfolb FL LLC
                                                                           Rocklin, CA95765
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                                          Tampa, FL 33609                  Pitman, Kalkhoff, Sicula & Den
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                                                                           Santa Fe, NM 87505
San Diego, CA92110                        Holly Hineson
                                          Samar Habbas &Associates, Inc
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                                          Irvine, CA92618                  Tasha M. Somaniba, Esq.
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                                                                           Miami, FL 33133
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                                            Phcenk AZ 85016
Joanna Tague Raffia J.Tague                                                  Manfred Kohn, Per. Rep
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                                            Ontario, CA 91761
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Judith Fuller, Executor                                                      Miguel Ubilas, Esq
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                                                                             Margaret Oakley
Karen Knorr Persrep R.Clausius              Lewis Brisbois Bisgaard & Smit   Bossie Reilly &Oh
do Holm Law Group, PC                       633 West 5th ST STE 4-000        1430 E Missouri AVE STE 13225
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Encinitas, CA 92024
                                            Lillian Claypool                 Margaret Wolford
Kari Allison Franklin                       do Peck Law Group, APC           Johnson Moore
Rude, O'Boyle, Lombardo & McK               6454 Van Nuys BLVD, STE 150      100 E. Thousand Oaks Blvd 229
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Salinas, CA 93906
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                                                                             Thousand Oaks, CA91360
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                                                                             Irvine, CA92618
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Mark Claypool                           Norman Dickinson                  Pacifism BG Mabry LLC
do Peck Law Group, APC                  Bossie Reilly &Oh                 1775 Hancock ST, STE 200
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Van Nuys, CA91401                       Phoenk, AZ 85014
                                                                          Pacifism CAIC
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200 Spectrum CIR DR STE 1230            7700 Congress AVE, STE 3216
Irvine, CA92618                         Boca Ratan, FL 33487
                                                                          Pacifica CA LLC
                                                                          1775 Hancock ST, STE 200
Mary Jo Lanahan                         0dette Milone es Pam Culbertson   San Diego, CA92110
Bighorn Legal Group                     do Senior Justice Law Firm
74399 HVVY 111, STE D                   7700 Congress Ave., Suite 3216
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Palm Desert, CA92260                    Bost Ratan, FL 33487
                                                                          1775 Hancock ST STE 200
                                                                          San Diego, CA92110
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High Stakes Injury Law                  Joshua A Machias, Esq.
                                                                          Pacifism Companias LLC
320 S. Jones BLVD                       300 Maitland Carter Pkwy 122
I as Vegas, NV89107                                                       1775 Hancock ST200
                                        Maitland, FL 32751
                                                                          San Diego, CA92110

Melanie Seaman Est M. Seaman            PAC SL Grove Inc.
                                                                          Pacifism Companies LLC
High Stakes Injury Law                  725 Grove ST
                                                                          1775 Hancock ST, STE 200
320 S. Jones BLVD                       Healdsburg, CA95448
I as Vegas, NV 89107                                                      San Diego, CA 92110

                                        Pacific Union City LLC
                                                                          Pacifist Companies, LLC
Meridian at Lantana                     33883 Alvarado-Niles RD
                                                                          1775 Hancock ST, STE 200
3061 Donnelly DR                        Union Cit,/, CA94587
                                                                          San Diego, CA92110
Hillsborough, NH 03346-2000
                                        Pacifica Bakersfield LP
                                                                          Pacifica Cottages, LLC
Meridian at Stone Creek                 3209 Brookside DR
                                                                          2620 Robindale RD
1111 S. 376th ST                        Bakersfield, CA93311
                                                                          Henderson, NV 89074
Milton, WA 98354
                                        Pacifica Bakersfield, LP
                                                                          Pacifica Dal/2 LP
Muriel Peterson                         3209 Brookside DR
                                                                          501 King DR
Law Office of Susan Kang Gordon         Bakersfield, CA93311
                                                                          Daly City, CA 94015
21 C Orinda Way 162
Orinda, CA94563
                                        Pacifica Belleair LLC
                                                                          Pacifica Daly2 LP
                                        620 Belleair RD
                                                                          501 King DR
New Lifestyles Inc                      Clearwater, FL 33756
                                                                          Daly City, CA 94051
Moore Law Gricup APC
PO Box 25145
                                        Pacifica BG Mabry LLC
Santa Ana, CA 92799
                                        16702 N Dale Mabry HWY
                                        Tampa, FL 33618
New Lifestyles Inc
do Brodkin &Associates
15500 B Raddled BLVD
Irvine, CA92618
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Pacifica East Lake, LLC                   Pacifica Senbr Living LLC        Pacifica SL Hemet LLC
760 E. Bobier DR                          1775 Hancock ST, STE 200         1177S. Palm AVE
Vista, CA 92084                           San Diego, CA92110               Hemet, CA 92543

Pacifica L 21 LLC                         Pacifica Senbr Living Vista      Pacifism SL [Klamath Falls LLC
1775 Hancock ST 200                       760 E. Bobier DR                 1775 Hanccck ST, STE 200
San Diego, CA92110                        Vista, CA 92084                  San Diego, CA92110

Pacifica Lauderhill LLC                   Pacifica SL Bakersfield LP       Pacifica SL Lantana LLC
155 Office Plaza DR                       3209 Brookside DR                3061 Donn*DR
Tallahassee, FL 32301                     Bakersfield, CA93311             Lantana, FL 33462

Pacifica Lauderhill, LLC                  Pacifism SL Belleair             Pacifica SL Lantana, LLC
5500 NW 69th AVE                          4201 SprincgliBe DR Sunrise      3061 Donnelly DR
Fort Lauderdale, FL 33319                 Fort Lauderdale, FL 33351        Lake Worth, FL 33462

Pacifica Management LLC                   Pacifica SL Belleair             Pacifism SL Modesto
15243 Columbus Square                     620 Belleair RD                  2325 St Pauls Way
Tustin, CA 92782                          Clearwater, FL 33756             Modesto, CA 95355

Pacifica Northridge LP                    Pacifica SL Belleair             Pacifica SL Ocala
Pacifica SL Northridge                    620 Belleair RD                  11311 SW95th CIR
8700 Lindley AVE                          Clearwater, FL 33756             Ocala, FL 34481
Northridge, CA 91325
                                          Pacifica SL Forest Trace         Pacifism SL of Belleair
Pacifica Oakland, LLC                     5500 NW 69th AVE                 620 Belleair RD
1775 Hancock ST, STE 200                  Fort Lauderdale, FL 33319        Clearwater, FL 33756
San Diego, CA92110
                                          Pacifica SL Grove Sheet LP       Pacifica SL ofPalm Beach
Pacifica Rosemont LLC                     725 Grove ST                     4760 Jog RD
2961 Galisteo RD                          Healcsburg, CA95448              Lake Worth, FL 33467
Santa Fe, NM 87505
                                          Pacifica SL Hemet LLC            Pacifica SL Palm Beach
Pacifism Rosemont LLC                     1177 S. Palm AVE                 4760 Jog RD
1775 Hancock ST, STE 200                  Hemet, CA 92543                  Greenacres, FL 33467
San Diego, CA92110
                                          Pacifica SL Hemet LLC            Pacifica SL Palm Springs LLC
Pacifica Rosemont LLC Paracorp            1177S Palm AVE                   1780 E Baristo RD
1012 Marquez PL STE 106B                  Hemet CA 92543                   Palm Springs, CA92262
Santa Fe, NM 87505
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 Pacifica SL Penasquitos LP               Pacifica SR LVG ofPalm Beach     RCA Laboratory SeMoas, LLC
 1775 Hancock ST, STE 200                 4760 S Jog RD                    do Kinney & Korman, PC
 San Diego, CA92110                       Lake Worth, FL 33467             2311 Wilson BLVD, STE 500
                                                                           Arlington, VA 22201
 Pacifica SL Phoenix, LLC                 Pacifica Union City, LLC
 17207 North Boswell BLVD                 33883 Alvarado- Niles RD         Rebeo-m Weitzel
 Sun City, AZ 85373                       Union City, CA94587              1436 Adams CIR E,
                                                                           Largo, FL 33771
 Pacifica SL Santa Clarita                Pacifica Union City, LLC & LLP
 24305 Lyons AVE                          33883 Alvarado-Niles RD          Regina B. Newby
 Newhall, CA 91321                        Union City, CA94587              1655S. Highland AVE
                                                                           Clearwater, FL 33756
 Pacifica SL Scottsdale LLC               Pacifica Valley Crest LP
 Paracorp Inc                             18524 Cor n RD                   Richard Kurtli
 8825 N 23ml AVE                          Apple Valley, CA 92307           Ford Dean & Rotundo, PA
 Phoenix, AZ 85021                                                         163 ST, STE 605
                                                                           North Miami Beach, FL 33160
                                          Paracorp, Inc.
 Pacifism SL Sunrise                      2804 Gateway Oaks DR #100
 4201 Sprincgthee DR                      Sacramento, CA 95833             Robert Bass
 Fort Lauderdale, FL 33351                                                 WIbm Finn, Esq.
                                                                           300 Maitland CIRPKWY 122
                                          Pat Canby
                                                                           Maitland, FL 32751
 Pacifism SL Van/lib                      6674 E Duane LN
 431 NutThe RD                            Scottsdale, AZ 85266
 Vacaville, CA 95687                                                       Robert L Mosley
                                                                           Chora Young & Manasserian LLP
                                          Paul Markovich
                                                                           650 Siena Madre Villa AVE 304
 Pacifica SL Wyndham Lakes                924 Crest View RD
                                                                           Pasadena, CA 91107
 10660 Old Saint Augustine RD             Vista, CA 92081
 Jacksonville, FL 32257
                                                                           Robert Mosley, Jr.
                                          Penasquitos LP
                                                                           Chora Young & Manasserian LLP
 Pacifica Somerfield LLC                  1775 Hancock ST, STE 200
                                                                           650 Siena Madre Villa AVE 304
 8700 Lindley AVE                         San Diego, CA92110
                                                                           Pasadena, CA91107
 Northridge, CA 91325
                                          Penasquitos, LP
                                                                           Robert Stewart Est Ruth Stale
 Pacifica Spring Valley LLC               1775 Hancock ST, STE 200
                                                                           Mendes, Reins &Wlancler, PLLC
 8880 WTrupismna AVE                      San Diego, CA92110
 I as Vegas, NV89147                                                       4401W. Kennedy BLVD
                                                                           Tampa, FL 33609
                                          Prince Milton, M.D.
 Pacifica SR LVG Klamath Falls            41945 Orange Bbssom LN APT A
                                                                           Roger He
 2130 N Eldorado AVE                      Hemet, CA 92544
                                                                           Chain Cohn Clark
 Kamath Falls, OR 97601
                                                                           1731 ChesterAVE
                                                                           Bakersfield, CA 93301

                                                                           Ron Bell Injury Lavers
                                                                           610 7th Street NW
                                                                           Albuquerque, NM 87102
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 Rose Adele Cavanagh                        Stacy Bryan eat Sarah Bozeman    Terri Abbene
 doSabmatILawFrmPC                          do Brian C. Guppenberger, Esq    Samar Habbas &Asscciates, Inc
 888 S. Figueroa ST, STE 103                2300 Maitland Center PKVVY 122   200 Spectrum CIR DR STE 1230
 Los Angeles, CA 90017                      Maitland, FL 32751               Irvine, CA92618

 Ruth Clausius, deceased                    Steven Alper                     The Meridian at Lantana
 do Holm Law Group, PC                      do Fox Law, APC                  3061 Donn*DR
 171 Saxony RD, STE 203                     201 Lomas Santa Fe DR S420       Lantana, FL 33462
 Encinitas, CA 92024                        Solana Beach, CA 92075
                                                                             The Moore Law Group, APC
 Sandra Bobo                                Sun City Gardens Assisted Lvg    PO Box25145
 Berg Injury Lawyers                        28599 Bradley RD                 Santa Ana, CA 92799
 1317 Oakdale RD, STE 500                   Sun Cib,/, CA 92586
 Modesto, CA 95355
                                                                             The Woodmark at Sun City
                                            Sun City Senior Living           17207 N Boswell BLVD
 Scott Hargis                               3855 Upper Creek DR              Sun Cib,/, AZ 85373
 One LLP                                    Sun City Center, FL 33573
 23 Corp, Plaza DR, STE 150-105
                                                                             Thomas T Ira
 Newport Beach, CA 92660
                                            Sunrise Senior Living Mgt Inc
                                            7902 Westpark DR
 Senbr LiVing Portfolio LLC                 Mc Lean, VA 22102
 2140 S Dupont HVVY
                                                                             Tracy Mease
 Camden, DE 19934
                                            Susan Rueben Geraldine Bussey    2931 Magowan DR
                                            Kohn Law PA                      Santa Rosa, CA954.05
 Sharif Tyler D.S.D.                        3004 West Cypress RD
 31%1 Harden ST                             Tampa, FL 33609
                                                                             Tranquil Hospice Care
 Menifee, CA 92584
                                                                             CIO Nar, McKenna & Stockalper
                                            Suzanne Kermont AF E. Garren     841 Apolb ST, STE100
 Sherri Pacheco, Guardian Ad Lit            Reddick Law, PLLC                El Segundo, CA90245
 Chain Cohn Clark                           One Information WAY, STE 105
 1731 ChesterAVE                            Little Rock, AR 72202
                                                                             Trion Solutions I, Inc.
 Bakersfield, CA 93301
                                                                             888 W. Big Beaver RD
                                            Sylvia Rheaume                   Troy, MI48084
 Slate Stem PC                              Senior Justice Law Firm
 1701 Old Pecos Trail                       7700 Congress AVE STE 3216
                                                                             Vidor L. George
 Santa Fe, NM 87505                         Ban Raton, FL 33487
                                                                             20355 Hawthorne BLVD, 1st FL
                                                                             Torrance, CA 90503
 Southern Hare Care Serv, Inc.              Tampa Gardens Senbr Living
 Steptce & Johnson PLLC                     16702 N Dale Mabry HWY
                                                                             Virginia Pomb
 700 N. Hut-stoma PKVVY 115                 Tampa, FL 33618
                                                                             Netska Law Group
          KY40222
                                                                             1314E Las Oas BLVD, STE 2356
                                            Tampa Gardens Senbr Living       Fort Lauderdale, FL 33301
 Southern Home Care Serv, Inc.              1775 Hancock ST, STE 200
 700 N. Hut-stoma PKVVY 115                 San Diego, CA92110
 Lcuis/ilb, KY40222
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 W Lyons LLC
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 Yolanda Garcia, R.N.
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Information to identif the case:

Debtor         Pacifica Senior Living LLC dba Pacifica
                                                                                               EIN: XX-XXXXXXX
               Senior Living Management LLC
               Name

United States Bankruptcy Court      Southern District of California                             Date case filed for chapter:         7      3/24/25

Case number:       25-01107-CL7
Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case -- No Proof of Claim Deadline                                                                                        12/15/20

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any roof of claim or other filing in the case.
1. Debtor's full name                       Pacifica Senior Living LLC dba Pacifica Senior Living Management LLC

2. All other names used in the
   last 8 years
3. Address                                  1775 Hancock St., Ste. 200
                                            San Diego, CA 92110

4. Debtor's attorney                        Martin A. Eliopulos                                                  Contact phone (619) 236-1551
                                            Higgs, Fletcher & Mack LLP                                           Email elio@higgslaw.com
   Name and address                         401 West A Street, Suite 2600
                                            San Diego, CA 92101

5. Bankruptcy trustee                       Ronald E. Stadtmueller                                               Contact phone 858-564-9310
                                            10755 Scripps Poway Pkwy., #370                                      Email: ecfstadt@aol.com
   Name and address                         San Diego, CA 92131

6. Bankruptcy clerk's office                Jacob Weinberger U.S. Courthouse                                     Hours open
                                            325 W      Street
   Documents in this case may be            San Diego, CA 92101-6991                                             8:30am - 4:30pm
   filed at this address. You may
   inspect all records filed in this case
   at this office or online at                                                                                   Contact phone 619-557-5620
   www.casb.uscourts.aov.

7. Meeting of creditors                     April 29, 2025 at 09:00 AM                                           Location:
   The debtor's representative must
   attend the meeting to be                 The meeting may be continued or adjourned to a later date. If        Zoom video meeting. Go to
   questioned under oath. Creditors         so, the date will be on the court docket.
                                                                                                                 Zoom.us/join, Enter Meeting ID
   may attend, but are not required to                                                                           737 126 5977, and, Passcode
   do so.
                                                                                                                 1742013631, OR, call (619)
                                                                                                                 367-5047

                                                                                                                 For additional meeting
                                                                                                                 information go to
                                                                                                                 a2m,itiatics„gadutn
8. Proof of claim                           No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
   Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
   claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
   to do so.
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9. Creditors with a foreign           If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                            extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                      any questions about your rights in this case.

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Debtor Pacifica Senior Living LLC dba Pacifica Senior Living Management
                                                                                                      Case number 25-01107-CL7
LLC


                         NOTICE OF APPOINTMENT OF INTERIM TRUSTEE

   An order for relief having been entered in the above-referenced case on 3/24/25, the following person is named Interim
Trustee of the estate of the debtor:


                                                     Ronald E. Stadtmueller
                                                10755 Scripps Poway Pkwy., #370
                                                     San Diego, CA 92131

                                            TRUSTEE REQUIREMENTS

     Debtors and debtors' attorneys must review the Standing Administration Guidelines immediately to comply with the
production of supporting documentation of material represented in the Schedules and Statement of Financial Affair. Failure to do
so in a timely manner may result in continuances of Meetings and additional appearances. The Trustee Guidelines and
Additional Requirements are available on the internet at:

                                          http://www.casb.uscourts.gov/trusteeguidelines



                                                 DISMISSAL OF CASE

   Notice is given that this case will be dismissed if the debtor(s) fails to pay the filing fee pursuant to the Rules of Bankruptcy
Procedure 1006. This dismissal may occur without further notice.

    Furthermore, notice is given that if the Debtor fails to file schedules and statements or other documents required by the Rules
of Bankruptcy Procedure 1007, and/or 11 U.S.C. 521, or if the Debtor or Joint Debtor fails to appear at the §341(a) meeting that
the Court, Trustee or U.S. Trustee may move for dismissal of the case without further notice to the Debtor or Creditors. A party
in interest may object to the motion for dismissal at the §341(a) meeting, at which time a hearing on the objection will be
scheduled.

                                                BANKRUPTCY FRAUD

   If you have information regarding any bankruptcy fraud or abuse, please contact the United States Trustee in writing at 880
Front Street, 3rd Floor, Ste. 3230, San Diego, CA 92101 and/or by calling 619-557-5013.

                                                                                                                               page 2

                                                                                For the Court:

                                                                                Mark Schnakenberg, Clerk
                                                                                United States Bankruptcy Court
Dated: 3/25/25                                                                  Southern District of California
